Filed 8/23/24 P. v. Moran CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.

            IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                     FIFTH APPELLATE DISTRICT


    THE PEOPLE,
                                                                                             F087439
           Plaintiff and Respondent,
                                                                              (Super. Ct. No. VCF274709A)
                    v.

    VICTOR MORAN,                                                                         OPINION
           Defendant and Appellant.



                                                   THE COURT*
         APPEAL from a judgment of the Superior Court of Tulare County. Melinda Myrle
Reed, Judge.
         Michele A. Douglass, under appointment by the Court of Appeal, for Defendant
and Appellant.
         Office of the State Attorney General, Sacramento, California, for Plaintiff and
Respondent.
                                                        -ooOoo-




*        Before Levy, Acting P. J., Franson, J. and Smith, J.
                                    INTRODUCTION
       Appellant and defendant Victor Moran (appellant) pleaded no contest to voluntary
manslaughter and admitted firearm and gang enhancements, and was sentenced to the
stipulated term of 31 years. He later filed a petition for resentencing pursuant to Penal
Code1 section 1172.6. The People offered to reduce appellant’s aggregate sentence in
exchange for the dismissal of the petition with prejudice. Appellant accepted, and he was
resentenced to an aggregate term of 19 years.
       On appeal, appellate counsel filed a brief that summarized the facts with citations
to the record, raised no issues, and asked this court to independently review the record.
(People v. Wende (1979) 25 Cal.3d 436.) Appellant did not file a supplemental brief on
his own behalf. We affirm.
                                          FACTS
       On July 25, 2013, an information was filed in the Superior Court of Tulare County
charging appellant with committing the following offenses on or about October 20, 2012:
count 1, murder of A.C. (§ 187, subd. (a)), with the gang special circumstance (§ 190.2,
subd. (a)(22)), personally and intentionally discharging a firearm causing death
(§ 12022.53, subds. (d) &amp; (e)(1)), personally discharging a firearm (§ 12022.53,
subds. (c) &amp; (e)(1)), and gang enhancements (§ 186.22, subds. (b)(4), (b)(1)(C)); and
count 2, manufacturing a short-barreled shotgun (§ 33215), with a gang enhancement
(§ 186.22, subd. (b)(1)(a)).
Plea and Sentence
       On September 23, 2014, appellant pleaded no contest to amended count 1,
voluntary manslaughter (§ 192, subd. (a)), and admitted the personal use of a firearm
(§ 12022.5 subd. (a)), and the gang enhancement (§ 186.22, subd. (b)(1)(C)), for a



1      All further statutory citations are to the Penal Code.


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stipulated aggregate term of 31 years; and a no contest plea to count 2 for a concurrent
term.
        On November 12, 2014, the trial court imposed the stipulated sentence of 31 years.
Petitions for Resentencing
        On February 14, 2019, appellant filed a petition for resentencing of his voluntary
manslaughter conviction pursuant to former section 1170.95. The trial court denied the
petition because the statute did not provide resentencing for a voluntary manslaughter
conviction.
        On July 14, 2023, appellant filed a second petition for resentencing pursuant to
section 1172.6. The trial court appointed counsel and conducted a hearing on the prima
facie issue.
        On October 18, 2023, the trial court convened the prima facie hearing, and the
parties stated they had reached a resolution. The People proposed to reduce appellant’s
aggregate sentence by 12 years in exchange for the dismissal of the petition with
prejudice. The court continued the matter for appellant to consider the offer.
Resentencing
        On October 20, 2023, appellant accepted the People’s offer. The trial court
resentenced appellant to an aggregate term of 19 years based on the midterm of six years
for count 1, voluntary manslaughter, plus the lower term of three years for the personal
use enhancement, and the lower term of 10 years for the gang enhancement; and a
concurrent term for count 2. The court dismissed appellant’s section 1172.6 petition with
prejudice. The court directed the probation office to calculate appellant’s actual credits
and for his record to be adjusted accordingly.
        On May 8, 2024, the trial court filed a corrected abstract of judgment.
                                      DISCUSSION
        As noted above, appellate counsel filed a Wende brief with this court. The brief
also includes counsel’s declaration that appellant was advised he could file his own brief

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with this court. This court advised appellant by letter that he could file a supplemental
letter or brief raising any arguable issues. Appellant did not do so.
       After independent review of the record, we find no reasonably arguable factual or
legal issues exist.
                                      DISPOSITION
       The trial court’s resentencing and judgment filed on October 20, 2023, is affirmed.




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